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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF VIRGINIA
                            Alexandria Division



 UNITED STATES OF AMERICA,
       v.                                       Case No. 1:19-CR-201


 GEORGE AREF NADER,                             The Honorable Judge Brinkema


                       Defendant.


      MR. GEORGE NADER’S MEMORANDUM IN AID OF SENTENCING
     AND OBJECTIONS TO THE PRESENTENCE INVESTIGATION REPORT
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       Mr. George Nader respectfully submits his Memorandum in Aid of Sentencing and

Objections to the Presentence Investigation Report.

       Mr. Nader will appear before the Court for sentencing on June 26, 2020, having pled

guilty to two offenses related to conduct from the years 2000 and 2012. He has pled guilty to

one count of possession of child pornography in violation of 18 U.S.C. § 2252(a)(4) and (b)(2),

relating to conduct in 2012, and one count of transportation of a minor with intent to engage in

criminal sexual activity, in violation of 18 U.S.C. §§ 2423(a) and 2426, relating to conduct in

2000. The first of those counts carries a mandatory minimum sentence of ten years’

imprisonment here.

       The Government and Mr. Nader are jointly recommending that Mr. Nader be sentenced

to the mandatory minimum of ten years. As explained below, ten years is a “sufficient, but not

greater than necessary” sentence in this case, in light of the many years that have passed since

the conduct underlying his convictions; Mr. Nader’s lifelong dedication to peace in the Middle

East; Mr. Nader’s age and poor health; and the extremely low risk that he will re-offend.

                                       INTRODUCTION

       George Nader is a dual American and Lebanese citizen who has dedicated his life to

working for peace and encouraging a better understanding of complex issues in the Middle East.

In doing so, he has repeatedly subordinated his own well-being to his work furthering the

interests of peace and the safety of others, including American citizens.

       Mr. Nader fled the Lebanese civil war to the United States at age 15. That experience, as

well as the ongoing Middle Eastern conflicts from his formative years, shaped his life’s work of

serving as a bridge between his home region, the Middle East, and his adopted country, the

United States. At age 20, as detailed below, Mr. Nader started a magazine focusing on Middle



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Eastern politics and economics that would become Middle East Insight. That magazine was

path-breaking and highly influential; it became essential reading for those with interests in the

region, including diplomats. Middle East Insight was at the heart of conversations regarding

those issues for decades and was a vital forum for discussing the most important issues of the

time.

        Mr. Nader also worked on peace initiatives behind the scenes throughout the 1990s and

2000s. Perhaps most significantly, he played an important role in the freeing of American

hostages held by Hezbollah terrorists in the 1990s. Prior to his 2019 arrest on the Complaint in

this case, Mr. Nader was continuing his work for peace in the region, as an envoy between the

United States and key figures in the Middle East.

        Mr. Nader has also made some grave errors in his personal life, which now bring him

before the Court for punishment. The charges in this case involve disturbing conduct, albeit

conduct that happened many years or even decades ago. Importantly, Mr. Nader did not plead

to—and does not stand convicted of—any of the conduct underlying his arrest in 2019. Mr.

Nader did not plead to that conduct because he is legally and factually innocent of knowingly

transporting illegal images into the United States, as the Government originally alleged.

        That being said, Mr. Nader is painfully aware that he committed serious offenses as a

younger man, which inflicted real harm. Under any possible sentence the Court can impose at

this juncture, he will receive a substantial prison sentence as a consequence of those actions. In

this case, the Government and Mr. Nader have agreed that ten years is the appropriate sentence,

taking into account all the facts and circumstances of this case, as well as the goals of sentencing.

        There are many reasons why ten years is a sufficient sentence here. First and foremost,

Mr. Nader is now 61 years old and has already demonstrated that he can control the destructive



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impulses that afflicted him as a younger man. Mr. Nader’s progress in his life is consistent with

the scientific consensus that recidivism—particularly in the area of sex offenses—decreases

dramatically with age. Perhaps the most authoritative study of its kind found that, for individuals

like Mr. Nader in Criminal History Category I, only 6.9% of those aged 41-50 at the time of

sentencing re-offended. See United States Sentencing Commission, Measuring Recidivism: The

Criminal History Computation of the Federal Sentencing Guidelines (May 2004). 1 For

individuals older than 50, much less individuals like Mr. Nader who are older than 60, the rate is

lower still. See id.; see also, e.g., United States v. Howard, 773 F.3d 519, 533 (4th Cir. 2014)

(“There is a statistically significant drop in recidivism for offenders aged 45 to 54 compared with

35 to 44 year-olds, and rates for those aged 55 and older are even lower.”).

        Second, and consistent with the above, Dr. Fred Berlin, a renowned Johns Hopkins

psychiatrist who specializes in treating and evaluating people charged with and convicted of

sexual offenses, clinically assessed Mr. Nader and has concluded that Mr. Nader’s “future

prognosis is very good” due in part to the following factors: (1) Mr. Nader’s demonstrated

ability in recent years to control his behavior; (2) sexual recidivism rates for people over 60 are

very low; (3) Mr. Nader has no comorbid conditions such as drug and alcohol addiction or a

personality disorder; and, most importantly, (4) Mr. Nader is clearly “a man with considerable

psychological strengths that facilitate future success.” Ex. 1, Berlin Report (Feb. 22, 2020) at

14. 2



1
 https://www.ussc.gov/sites/default/files/pdf/research-and-publications/research-
publications/2004/200405 Recidivism Criminal History.pdf (last accessed June 9, 2020).
2
 Dr. Fred Berlin is the Associate Professor of Psychiatry and Behavioral Sciences at The Johns
Hopkins University School of Medicine, the founder of The Johns Hopkins Sexual Disorders
Clinic, and Director of the National Institute for the Study, Prevention, and Treatment of Sexual
Trauma.

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       Finally, if Mr. Nader is sentenced to significant prison time beyond the parties’

recommendation of ten years—which, for a 61-year-old with a history of cardiac disease, already

approaches the functional equivalent of a life sentence—it will eliminate any incentive that

future offenders have to plead guilty, as Mr. Nader has done. Among other valuable rights Mr.

Nader forfeited as the result of his guilty plea was the right to challenge the search and seizure of

his phones and the controversial application of the plain view doctrine the Government would

have had to invoke here. Mr. Nader’s plea deal, which included the Government’s ten-year

recommendation, also spared witnesses (including Minor Boy 13 the ordeal, and the Government

the cost, of an extremely difficult trial for all involved. The plea deal now also includes Mr.

Nader’s agreement to pay restitution in the amount of $150,000—a much higher amount than

what courts have ordered under similar (and worse) circumstances.

       For Mr. Nader and the aged conduct at issue here, the functional equivalent of a life

sentence is far greater than what is necessary. Instead, the Court should sentence Mr. Nader to

the jointly recommended sentence of ten years’ imprisonment, plus five years of supervised

release. This sentence is more than sufficient to meet all the goals of sentencing, including just

punishment for Mr. Nader’s offenses.

                                         BACKGROUND

I.     MR. NADER’S PERSONAL AND PROFESSIONAL HISTORY

       A.      Childhood and Immigration to the United States

       Mr. Nader was born in Lebanon in 1959, the oldest of his parents’ three children. Ex. 1

at 2; Presentence Report (“PSR”) (ECF No. 185) ¶ 130. Mr. Nader’s sister Leila is about four

years younger than him. Ex. 1 at 2. She lives in Lebanon with her husband and two children.


3
 Minor Boy 1 is being referred to as such here pursuant to this Court’s protective order, but he is
currently a 35-year-old man
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Id. Mr. Nader and Leila are very close and to this day speak often by phone. Id. Mr. Nader’s

other sibling, his brother Tony, is about 8 years younger than him. Id. Tony is now married and

has three children, the youngest of whom is named George, after Mr. Nader. Id. While living in

Lebanon when he was about 14, Tony was maimed by an explosive that his friend found on the

ground and mistook for a toy, causing the loss of his left hand and left eye. Id. This event had a

profound impact on Mr. Nader and deepened his desire to work for peace in his homeland and

the greater Middle East. Mr. Nader’s brother and sister are his primary living family. His father

passed way in 2000, at the age of 57, from a brain tumor. PSR ¶ 130. His mother passed away

in 2015 from heart disease. Id. Mr. Nader never married or had children. He has, however, over

the years almost always owned one or more dogs; he cares dearly for his 11-year-old boxer,

Archie, who he greatly misses. See Ex. 1 at 7.

         Mr. Nader’s early life in Lebanon was relatively peaceful. Mr. Nader’s father owned a

small cement factory and a grocery store, worked as an accountant, and provided adequately for

the family. Ex. 1 at 3-4; PSR ¶ 131. His mother was a homemaker. Ex. 1 at 2; PSR ¶ 132. In

1975, however, civil war in Lebanon was looming and economic conditions were deteriorating.

Ex. 1 at 3; PSR ¶ 132. So, Mr. Nader and his family fled to Parma, a suburb of Cleveland, Ohio.

Ex. 1 at 3; PSR ¶ 132. Once in Ohio, the Naders lived with an aunt who had immigrated to the

United States the prior year. Ex. 1 at 3; PSR ¶ 132. When Mr. Nader arrived in the U.S. with his

family at the age of 15, he spoke no English beyond a simple “hello” or “how are you?” 4 PSR

¶ 132.

         Despite having just fled a civil war in his homeland and notwithstanding his limited

English, teenaged George Nader assimilated quickly. He enrolled in high school and wasted no


4
    See https://www.dailystar.com.lb/ArticlePrint.aspx?id=104987&mode=print (Dec. 16, 2000).

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time mastering the language and becoming an active member of his community. A Student

Descriptive Summary letter written by the school counselor in November 1976 states that his

adjustment to school after arriving from Lebanon was “rapid” and his academic progress was

“most satisfactory.” PSR ¶ 143. The letter described him as a “courteous, personable,

industrious, mature young man,” id., which is no surprise to anyone who truly knows George

Nader today.

       In high school, Mr. Nader began the pattern of extremely hard work that would continue

throughout his life. When he was 16, he worked two jobs in addition to attending school full-

time. Ex. 1 at 4. Once the school day ended, he worked as a custodian at his high school,

cleaning classrooms from 2:00 to 6:00 p.m. Id. He would leave high school at 6:00 p.m. and go

to work at a local pizzeria, where he started as a dishwasher and eventually worked his way up to

making pizzas and salads. Id. Within just a couple years of his arrival in the U.S., Mr. Nader

(who had only known two phrases in English when he arrived) had started a club at his high

school that read works by Shakespeare and Victor Hugo. Id. He also wrote a newspaper by

hand that discussed literature and foreign affairs. Id. Though still just a teen, he aspired to

promote a better understanding of the Middle East among his new community in the United

States. Id.

       Mr. Nader became a naturalized U.S. citizen in 1977. Id. at 1; see also PSR ¶ 133. He

graduated high school with highest honors. See Ex. 1 at 1.

       B.      Mr. Nader Founds Middle East Insight

       After graduating high school, Mr. Nader started college at Cleveland State. Ex. 1 at 5.

While there, he began building the foundation for the venture that would largely define the rest

of his life – Middle East Insight. Id.



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         While Mr. Nader was in college, a series of uprisings began in the Middle East. The civil

war was raging in Lebanon and the Iranian Revolution was underway. Mr. Nader, who had

always been (and continues to be) a voracious reader, was bothered by the superficial quality of

American coverage of issues in the Middle East. As he would later tell a Lebanese newspaper in

a 2000 interview, he “always knew [he] wanted to work in publishing and journalism” and had

“collect[ed] every publication in Lebanon. While other kids were buying toys, [Mr. Nader] was

buying newspapers and magazines.” 5 So Mr. Nader decided to combine his love of journalism

and his passion for the Middle East into a small magazine, International Insight, that he printed

in the building of his former high school. Ex. 1, at 4; PSR ¶ 144. Mr. Nader also started

attending think tank sessions in Washington, D.C. PSR ¶ 145. He would drive six-and-a-half

hours back and forth to Washington from Ohio. While at the sessions, Mr. Nader began

approaching the speakers and attendees, pinning down who was behind a given institution or

organization, meeting with those people, and interviewing them for the magazine. See id.

         Mr. Nader ultimately decided that he could make a greater impact working on the

magazine than staying in school. When he was just 20, Mr. Nader left college to work on

International Insight full time. Mr. Nader’s first big break came when he interviewed Egyptian

Vice President (and later President) Hosni Mubarak in 1981. 6 PSR ¶ 145. Mr. Nader “traveled

to Egypt with the American ambassador to Egypt, Hermann Eilts, through whom he met and

interviewed then-Vice President Mubarak.” Id. Mr. Nader interviewed Vice President Mubarak

on July 15, 1981. In October of 1981, President Anwar Sadat was assassinated and Vice

President Mubarak became President. Mr. Nader’s rare interview with Mubarak was published


5
    https://www.dailystar.com.lb/ArticlePrint.aspx?id=104987&mode=print (Dec. 16, 2000).
6
 https://www.washingtonpost.com/archive/opinions/1981/10/11/after-sadat/90d7cd65-b0e8-
4afc-95a0-0dfab1135b09/

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in the Washington Post, and Mr. Nader was invited to discuss it on NBC’s Today show,

garnering him national attention. See id.

           Over the years, International Insight became Middle East Insight. 7 The magazine

became a publication powerhouse that repeatedly joined Christians, Arabs, and Jews at the

highest levels at conferences and in print regarding the most important issues confronting the

region.8 His first issue had sold 200 copies at the cost of $10 for an annual subscription. 9 By

2000, Mr. Nader was charging $100 for an annual subscription and the journal had a circulation

of nearly 10,000 subscribers worldwide; it was “considered one of the most authoritative

publications on the Middle East.” 10 Through his work with Middle East Insight, Mr. Nader

gained the trust of officials at the highest levels, interviewing figures such as Israeli Prime

Minister Yitzhak Rabin, King Hussein of Jordan,11 President Bill Clinton,12 and Iranian

President Ali Akbar Hashemi Rafsanjani. 13

           In 1996, Mr. Nader’s journalistic accomplishments earned him recognition on the floor of

the U.S. House of Representatives. 14 Representative Nick Rahall praised Mr. Nader’s work:




7
    https://web.archive.org/web/19990421040119/http://www.mideastinsight.org:80/mission.html
8
  https://www.dailystar.com.lb/ArticlePrint.aspx?id=104987&mode=print; see also
https://www.c-span.org/person/?georgenader; https://www.c-
span.org/organization/?24163/Middle-East-Insight
9
  https://www.dailystar.com.lb/ArticlePrint.aspx?id=104987&mode=print; see also PSR ¶144.
10
     Id.
11
     http://www.kinghussein.gov.jo/98_june.html
12
  https://www.govinfo.gov/content/pkg/CREC-1996-02-01/html/CREC-1996-02-01-pt1-
PgE133-3.htm
13
  https://www.washingtonpost.com/archive/opinions/1995/07/09/from-tehran-to-waco/ca3ce1f8-
0af9-408c-947d-c4316426cd31/
14
  https://www.congress.gov/congressional-record/1996/4/16/extensions-of-remarks-
section/article/E532-3

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“By striving to rise above ideological passions that often divide the region, Middle East Insight

has earned the respect of its readers in Washington, D.C. and throughout the region.” 15

Congressman Rahall gave much of that credit directly to Mr. Nader. 16

           C.     Mr. Nader’s Efforts to Free Hostages in Lebanon

           In addition to his work in the Middle East, Mr. Nader has consistently sought out ways to

serve the United States, his adopted country. As a young man during the Reagan administration,

he leveraged the strong network of connections he had built through Middle East Insight and

undertook a daring diplomatic mission to free the American hostages being held in his native

Lebanon by Hezbollah terrorists. Secretary of State George Schultz, Chief of Staff (and then

Secretary of State) James Baker, and Presidents Ronald Reagan and George H.W. Bush entrusted

Mr. Nader with this mission because they understood that his ability to gain the trust of all sides

was critical to securing the release of hostages Thomas Sutherland, Father Lawrence Jencol,

Terry Anderson, William Buckley, Terry Waite, and others. On more than one occasion,

Mr. Nader was able to diffuse tensions and keep the hostages alive, placing his own life at risk in

the process.

           Evidence of Mr. Nader’s heroic and extraordinary work to free the hostages in Lebanon

is contained within the Court’s files from the early 1990s. In July 1991, the Government

consented to a continuance to permit Mr. Nader to continue his “direct involvement in

negotiations concerning the release of American hostages being held in Lebanon.” United States

v. Nader, Crim No. 91-0077-A, Unopposed Emergency Mot. for Continuance of Sentencing

(E.D. Va. July 31, 1991), ¶ 3. The motion stressed that “Mr. Nader is the only ‘outsider’ ever



15
     Id.
16
     Id.

                                                   9
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allowed into the heart of the Shiite area of Beirut” and that “he cannot leave without disrupting

the process and jeopardizing all of the gains that have been made in the last few weeks.” Id.

¶¶ 7-8 (emphasis in original).

       In a second emergency motion for continuance on September 5, 1991, Mr. Nader’s

counsel informed the Court: “Within a week or so after the Court continued Mr. Nader’s

sentencing, British hostage Jon McCarthy and American hostage Edward Tracy were released in

Beirut. The release of these two hostages can be directly attributed to the work that Mr. Glazer

and Mr. Nader had begun in early July in laying the foundation for further negotiations with the

Lebanese hostage-holders and their backers.” United States v. Nader, Crim No. 91-0077-A,

Emergency Mot. for Continuance of Sentencing (E.D. Va. Sept. 5, 1991), ¶ 5. Mr. Guilford

Glazer, an advisor to several Israeli prime ministers who had also been intimately involved in the

hostage negotiations, wrote to the judge on Mr. Nader’s behalf, stating: “I believe most

emphatically that the Israeli Government, the United States Government, all the other nations

involved, the hostages, and the United Nations have been served well in this matter by George

Nader.” Id. at Ex. 1 (Ltr. from G. Glazer to Hon. Judge Claude M. Hilton, Sept. 4, 1991) at 5.

       Former Secretary of State James Baker recognized Mr. Nader’s work on behalf of the

hostages at a Middle East Insight summit in 1998, stating: “[E]arly on in the [George H.W.]

Bush administration, George Nader did some very discreet work for us of a humanitarian nature

having to do with the then-ongoing crisis over the taking of hostages, American citizens, and

George worked with us very closely and very discreetly on that.”17




17
  https://www.c-span.org/video/?105089-1/us-interest-middle-east&start=0 (at about the 8:00
minute mark)

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         D.     Mr. Nader’s Other Diplomatic Efforts

         During the 1990s, Mr. Nader was heavily engaged in other efforts to advance peace in the

Middle East. He became a close confidante of Israel’s late Prime Minister Yitzhak Rabin,

serving as Rabin’s private channel to the late Syrian President Hafez al-Assad. Mr. Nader was

asked to attend the private funeral of Prime Minister Rabin after he was assassinated—a very

high honor for a private citizen.

         After Rabin’s assassination, Mr. Nader worked closely on peace efforts with the Clinton

administration and Prime Ministers Shimon Peres, Benjamin Netanyahu, and Ehud Barak.18 In

1998, Prime Minister Netanyahu asked Mr. Nader to launch a secret diplomatic initiative to

negotiate an Israeli-Syrian peace deal. 19 In the shuttle diplomacy that followed, Mr. Nader came

closer than any negotiator before or since to completing a successful deal, with virtually all of

the most sensitive issues settled in principle. The historic opportunity was lost, however, when

Netanyahu lost his bid for re-election in 1999.

         During the early 2000s, Mr. Nader spent the majority of his time in the Middle East

acting as a “shadow diplomat,” facilitating relationships between United States and Middle

Eastern officials. For example, after the U.S. invasion of Iraq in 2003, Mr. Nader became a

regular advisor to Vice President Dick Cheney and spent several years traveling to Baghdad in

an effort to rally Iraq’s new leaders to join the United States in defeating Al-Qaeda and the Iraqi

insurgency, while containing Iranian influence. Mr. Nader was the only one who was equally

trusted by the Americans and the spiritual leader and prime minister of Iraq. He contributed

tremendously to the rebuilding effort.


18
  https://www.nytimes.com/2018/03/03/us/politics/george-nader-mueller-investigation-united-
arab-emirates.html
19
     https://www.meforum.org/3943/the-road-to-damascus-what-netanyahu-almost-gave-away

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       For more than a decade now, Mr. Nader has served as an advisor to various leaders in the

Middle East. In that capacity, Mr. Nader has conducted countless international missions and

helped facilitate the strong allegiance between the United States and countries of that region.

PSR ¶ 151. Among other accomplishments during this time, Mr. Nader helped arrange President

Trump’s first international trip to Riyadh to meet with the Saudis.

       Mr. Nader sincerely hopes that, after the period of incarceration to be imposed in this

case, he will be able to resume his efforts working toward peace in the Middle East. Not only is

that work personally fulfilling, it is work where Mr. Nader has demonstrated his ability to make a

difference for the United States and for the interests of peace.

       E.      Mr. Nader’s Home Life in Lebanon and the UAE

       Mr. Nader longs to see his loved ones back in the Middle East. As noted, Mr. Nader is

extraordinarily close to his sister, Leila Nader, who lives in Lebanon; Mr. Nader and Leila speak

almost every day. Leila misses her brother dearly; his prolonged absence has brought great

sadness to her life and the lives of their family members, including their younger brother Tony.

Mr. Nader also has an extensive network of friends and family in the UAE. He developed some

of these relationships over the years through Middle East Insight and his other dealings in the

Middle East. Mr. Nader is a gracious and kind person and, as the thousands of non-objectionable

WhatsApp messages on his phone demonstrate, someone with a great many close friends with

whom he was in constant contact before his arrest. Indeed, a person could not accomplish all

that Mr. Nader has over the years without being the caring and fundamentally well-meaning

person that he is. Mr. Nader’s close friends, many of whom he has known for decades, as well

as his sister and his beloved dog, Archie, eagerly await his return to their lives.




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       F.         Mr. Nader Suffers from Several Serious Health Conditions

       Mr. Nader is 61 years old and has a number of serious health conditions, including heart

disease, high blood pressure, high cholesterol, and pre-diabetes. In April 2019, just prior to his

arrest in this case, Mr. Nader was admitted to a hospital in Hamburg, Germany following a

routine physical because his physician suspected he was suffering from high-grade coronary

heart disease. ECF No. 58, Ex. 1 (Hamburg medical records) at 2; Ex. 3 (Decl. from Dr.

Matthew Hulse) at 1. Those suspicions proved correct, and Mr. Nader required open-heart

surgery on April 15, 2019. During the procedure, doctors discovered evidence of severe

coronary three-vessel disease. Id. Mr. Nader was in the ICU from April 15 to 16, 2019. ECF

No. 58, Ex. 1 at 3-4; Ex. 3 at 2. He was then transferred to a lower acuity care unit but required

re-admission to the ICU on April 17, 2019, after suffering “respiratory deterioration” due to a

collapsed lung and swelling. Id. These complications required two surgically-placed chest tubes

to resolve. Id.

       Dr. Matthew Hulse, a medical director at the University of Virginia, has reviewed

Mr. Nader’s records from his heart surgery. Dr. Hulse opines that Mr. Nader’s operation “is

considered high-risk and grounds for immediate and ongoing medical attention.” ECF No. 58,

Ex. 3 at 2. Specifically, he explained that the use of both internal mammary arteries and the “I-

graft” place a large amount of myocardium (the muscular tissue of the heart) at risk. Id. Dr.

Hulse further opined that, though the operation was intended to restore adequate blood flow to

the diseased area of the heart, the operation did not affect Mr. Nader’s pre-existing conditions

that led to his need for surgery—his advanced age, high blood pressure, high cholesterol, and

family history of cardiac disease. Id. Due to his arrest in this case, Mr. Nader has been unable to

receive any of the recommended cardiac rehabilitation after his heart surgery.



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       Mr. Nader’s present physical condition remains poor. At ADC, Mr. Nader is being

treated for heart disease, high blood pressure, and for his diabetic condition. He is currently

being prescribed Atorvastatin (a medication to treat high cholesterol), Metformin (to treat

diabetes—he has been told he is pre-diabetic), Bisoprolol (to treat high blood pressure),

Clopidogrel (a blood thinner used to treat heart problems), Low-Dose Aspirin (to treat heart

problems), Ramipril (to treat high blood pressure and cardiac disease), and Pantoprazole (to treat

heartburn). See PSR at ¶¶ 136, 137.

       G.      COVID-19 Poses Significant Danger for Mr. Nader

       Mr. Nader’s age and poor health make him especially susceptible to serious illness, or

even death, if he contracts COVID-19. Dr. Michael Rosenbloom, Professor of Surgery and the

Head of the Cardiac Surgery Division at Cooper University Health System, examined Mr.

Nader’s surgery records, Dr. Hulse’s medical opinion, and Mr. Nader’s current medications to

assess Mr. Nader’s risks if he contracts COVID-19. See ECF No. 186-1. Dr. Rosenbloom found

that Mr. Nader is “at increased risk for bad outcome” if he contracts COVID-19 and that he “has

several risk factors for a detrimental outcome[.]” Id. at 1.

       Specifically, Dr. Rosenbloom found that Mr. Nader’s “history of heart disease” is “a

recognized risk factor for mortality[.]” Id. Though Mr. Nader had coronary artery bypass

surgery, “coronary artery disease is a progressive disease,” and surgery “does not imply that his

heart disease is cured, rather it is a matter of management.” Id. at 2. Dr. Rosenbloom also notes

that Mr. Nader has hypertension, which “has been identified as a risk factor for bad outcome in

patients who contract Covid-19[.]” He writes that “[s]tatistics have shown that the risk of death

in patients who become infected with the Covid-19 virus is higher in patients over 60 and

increases with age.” Finally, he writes that Mr. Nader’s diabetic condition “has numerous

deleterious effects which ultimately would increase his risk for bad outcome or death if he were
                                                 14
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infected with the Covid-19 virus.” Id. These factors make Mr. Nader “at high risk” if infected

and make his risk for death “markedly higher” than that of the typical defendant appearing for

sentencing. Id.

           Dr. Rosenbloom’s assessment squares with data showing that Mr. Nader’s underlying

conditions increase his risk for serious illness or death. “According to mortality data released by

the National Health Commission of China, 35 percent of the patients who died from COVID-19

had a history of high blood pressure and 17 percent had a history of coronary heart disease”—

Mr. Nader has both.20 Preliminary CDC data for U.S. hospitalizations shows that 49.7% of those

hospitalized had hypertension; 28.3% had chronic lung disease; and 27.8% had cardiovascular

disease. 21 Those conditions were “even more prevalent in deceased COVID-19 patients,

according to data released by Louisiana, New York, and New Jersey.”22 In New York,

hypertension, diabetes, and coronary artery disease are three of the top five top comorbidities for

people in Mr. Nader’s age group.23 And new data from the CDC shows that hospitalizations

were six times higher and deaths twelve times higher for people with underlying conditions (with

cardiovascular disease and diabetes representing two of the three top underlying conditions).24




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  https://www.aljazeera.com/indepth/features/doctor-note-coronavirus-heart-disease-
200416072036397.html
21
  https://www.usatoday.com/in-depth/news/2020/04/15/coronavirus-risk-90-patients-had-
underlying-conditions/2962721001/
22
     Id.
23
   New York State Department of Health COVID-19 Tracker,
https://covid19tracker.health.ny.gov/views/NYS-COVID19-Tracker/NYSDOHCOVID-
19Tracker-Fatalities?%3Aembed=yes&%3Atoolbar=no
24
     https://www.cdc.gov/mmwr/volumes/69/wr/mm6924e2.htm?s cid=mm6924e2 w
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       H.      Mr. Nader’s Commitment to Not Re-Offend

       Mr. Nader’s past sexual conduct involving adolescents is a serious factor for the Court’s

consideration. But it is behavior that Mr. Nader, at age 61, with serious heart problems and after

over a year of incarceration under harsh conditions at the Alexandria Detention Center, will not

repeat. Indeed, Mr. Nader had already committed to this path years ago.

       Dr. Fred Berlin’s report places Mr. Nader’s sexual history in the proper context,

including how Mr. Nader has avoided illegal or even risky conduct in recent years, as well as Mr.

Nader’s demonstrated commitment to not re-offending. Dr. Berlin makes clear that Mr. Nader’s

interest and offenses in the past have involved adolescent males—not pre-adolescent children—

and that Mr. Nader has shown his ability to control this behavior in recent years.

       Dr. Berlin has concluded that Mr. Nader does not suffer from pedophilia. That is

indisputably correct. 25 As Dr. Berlin explains, however, when Mr. Nader was a teenager, he

“discovered that he was sexually attracted to adolescent males.” Ex. 1 at 11. Dr. Berlin

diagnosed Mr. Nader with homosexual ephebophilia, which means that “he is a man who is

sexually attracted to adolescent males.” Ex. 1 at 12. Though “[m]any adults find adolescents,

especially older adolescents, to be physically attractive,” the “average adult does not experience

recurrent urges to become sexually intimate with adolescents, to the exclusion of a significant

interest in those their own age.” Id. “Men with homosexual ephebophilia, like Mr. Nader,

experience an inordinately heightened sexual attraction to pubescent males.” Id.

       For Mr. Nader, that attraction to pubescent adolescent males started when Mr. Nader was

a teenager himself. Id. at 11. Dr. Berlin explains that “[r]esearch has been conducted to try to




25
   Notwithstanding the enormous amount of available information regarding Mr. Nader’s life, there
is zero evidence he has any attraction to pre-pubescent males (or females).
                                                16
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determine what sorts of biological and/or environmental factors contribute to the development of

particular sexual interests” but ultimately there is “still much to be learned[.]” Id. at 13.

However, “[w]hat is clear is that sexual attractions for all of us, including Mr. Nader, are

discovered rather than chosen.” Id. In words critical to a better and more empathetic

understanding of this case—and human sexuality in general—Dr. Berlin states:

       No child weighs his or her options, deciding whether to be attracted to men, women,
       boys, or girls. Rather, in maturing into adulthood each of us discovers the nature
       of our own sexual makeup. Who would decide, if we had the choice (which we do
       not) to be sexually attracted virtually exclusively to adolescent males? Life can be
       challenging for individuals such as Mr. Nader who discover that to be the nature of
       their sexuality. Many (but not all) may need mental health support and guidance.
       In spite of prior arrests, apparently appropriate mental health treatment has not been
       recommended for Mr. Nader.

Id.

       Mr. Nader acted on that attraction years ago by seeking out adolescent prostitutes and

adolescent pornography—conduct he was already convicted of in 1991 and 2003 and for which

he was punished, including time in prison. See id. at 11-12. As he has aged, however, Mr.

Nader has brought those urges under control. The FBI thoroughly searched Mr. Nader’s phones

in 2018 and 2019 and the objectionable material found (for which Mr. Nader was charged but to

which he did not plead) “can more accurately be described as obscene, rather than as child

pornography.” Id. at 13. Forensic evaluation of his phones “did not reveal the presence of

search terms often used to seek out child pornography[.]” Id. Nor was there evidence “that he

had been purchasing child pornography, or participating in file sharing networks known for

distributing it.” Id. The more recent Google searches the Government cited in its opposition to

Mr. Nader’s motion for pretrial release and that is also included in the PSR—e.g., the October

2018 Google search for “incredible movie of 17 year old [sic] boy who became hustler and porno

star,” and “movie of 17 year old porno star in Hollywood,” see also PSR ¶ 52—was quite

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obviously for the 1997 movie Boogie Nights,26 a mainstream American film nominated for three

Academy Awards, and was not for child pornography or child erotica. 27

       As Dr. Berlin explains, in recent years, Mr. Nader “has been able to refrain from having

sex with anyone under the age of consent.” Id. at 12. The conduct in this case is from 2000 and

2012. Dr. Berlin notes that “[a]t his current age of 60 [Mr. Nader’s age at the time of Dr.

Berlin’s evaluation], Mr. Nader understands that were he to commit a future offense he would

likely die as an old man in prison.” Id. at 14. He explains that Mr. Nader “does not want to do

that.” Id. Mr. Nader is “committed to never having sex with anyone under the age of consent

again[.]” Id. at 7. Dr. Berlin’s evaluation is consistent with Mr. Nader’s written acceptance of

responsibility in the PSR, “I am committed to not re-offending. I am now 60 years old but feel

much older, especially after the last seven months of living here at the jail under difficult

conditions. … Please be assured that I will never engage in any illegal activity again.” PSR ¶ 67.

       Dr. Berlin notes that there are substantial reasons to believe that this is true, including Mr.

Nader’s recent history, as well the lack of risk factors, like drug or alcohol addiction or an

antisocial personality disorder diagnosis, and Mr. Nader’s age. Ex. 1 at 14. He notes that it is

not as if Mr. Nader received treatment and failed—rather, Mr. Nader never received treatment.



26
   See https://www.washingtonpost.com/wp-
srv/style/longterm/movies/review97/boogienightshowe.htm. The only other Google search
proffered by the Government from 2018 (“sex with boys in Russia” and “prostitution in Russia”)
is likewise addressed by Dr. Berlin in his report. See Ex. 1 at 13. The fact that this search was
made immediately following the Boogie Nights search fully supports Dr. Berlin’s opinion that
these searches were made as part of (legal) sexual fantasizing, and not as part of any real-world
activity. See id.
27
  Further, in that same opposition, the Government excerpted 2009 emails between Mr. Nader
and “an unindicted co-conspirator” about Minor Boy 2, but neglected to mention that Mr. Nader
never met Minor Boy 2, never discussed anything sexual with Minor Boy 2, never exchanged
sexually explicit photographs with Minor Boy 2, and, indeed, there was nothing illegal at all
about their interactions. See PSR ¶¶ 109-117.
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Id. Mr. Nader is committed to seeking treatment now so as to never be in his current position

again. There are also other positive reasons that he will not re-offend, including Mr. Nader’s

“considerable psychological strengths that can facilitate future success.” Id. Dr. Berlin’s

professional opinion is thus that Mr. Nader’s “future prognosis is very good.” Id.

       I.      Mr. Nader Has Been Subjected To Harsh Pre-Trial Confinement Conditions

       Mr. Nader’s conditions of confinement at the Alexandria Detention Center (“ADC”),

especially since he was moved to administrative segregation following his January 2020 plea,

and even more so since the COVID-19 outbreak, have been harsh. Even while he was housed in

the general population, ADC was a difficult environment in which Mr. Nader was largely cut off

from the outside world. He was not permitted to go outside. An avid reader, he could receive

only limited reading material. He was not able to attend rehabilitation after his heart surgery.

Still, he at least was allowed out of his cell for the majority of the day, and he was able to access

the phone—his one lifeline to the outside world—for most of that time.

       Not so after his plea. ADC moved Mr. Nader to “administrative segregation,”

purportedly for his safety, given the nature of his charge and news coverage of his plea. Even

after the media attention from his plea had waned, Mr. Nader remained in administrative

segregation and is still there to this day. Administrative segregation is essentially solitary

confinement. For over five months now, Mr. Nader has been allowed out of his tiny cell for only

two hours each day. He can no longer use the phone, even to speak to his attorneys, at any other

time—rather, all of his contact with the outside world is limited to those two hours. 28




28
   Since the onset of COVID-19, Mr. Nader is also permitted a time-limited video visit with his
attorneys only through ADC’s VTC system.
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        The COVID-19 pandemic and ADC’s related precautions have only made Mr. Nader’s

conditions of confinement worse. First, Mr. Nader is restricted from any in-person visits with

counsel, or anybody else. Those restrictions have been in place for at least three months.

Second, Mr. Nader has lived with the fear of contracting COVID-19, which could well be fatal

for a person fitting Mr. Nader’s demographic. As described above, Mr. Nader’s heart condition,

hypertension, and diabetes all put him at high risk for serious illness or even death if he contracts

the virus. This fear, too, has made the last three months of his incarceration excruciatingly

difficult.

II.     THE EVENTS LEADING TO MR. NADER’S ARREST AND PLEA

        A.     The Special Counsel Office’s Investigation

        To understand how Mr. Nader came to the attention of law enforcement involved in this

case, and thus before this Court, one must understand Mr. Nader’s role in the Special Counsel

Office’s (“SCO”) investigation into Russian interference in the 2016 presidential election. The

images underlying the Complaint and arrest warrant in this case stemmed exclusively

                                                                     , not from any other ongoing

law enforcement investigation into Mr. Nader. To the contrary, the investigations into Mr. Nader

involving sex offenses had been closed many years earlier, in part due to law enforcement’s

belief that Mr. Nader’s 20-year old conduct was beyond the applicable statute of limitations. See

ECF No. 127, Ex. 3 at US-00000001 (“From May 2002 through July 2010, George Aref Nader

was investigated for child sex tourism and possession of child pornography (305B-WF-224395).

No charges were brought as a result of the expiration of the statute of limitations directly

resulting from Nader’s long term residency outside the United States.”); Ex. 2, at US-00000575

(“The USAO declined prosecution when Nader returned to the Unites States in 2009.”)



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       It was not until February 12, 2018, that the FBI came across any material relating to this

case. On that day, during the course of the FBI’s search of the iPhone 7

                  an FBI agent conducted a review of approximately ten percent of the more

than ten thousand videos it contained. See PSR ¶ 47. The FBI agent allegedly came across three

videos, sent to the iPhone 7 from other people, which the agent believed could be child

pornography, located in their “native form” inside a WhatsApp chat conversation. See id. That

agent then sought the opinion of a second agent, who deemed the videos “questionable” and

referred the videos to the Washington Field Office for further review. Id. On March 16, 2018,

law enforcement obtained a search warrant for the search of the iPhone 7 for evidence related to

child pornography. PSR ¶ 48.

       B.      The WhatsApp Videos

       The FBI’s forensic search ultimately revealed twelve videos (one of which was an

extended and reedited version of the same video) that the Government alleged were unlawful.

All of those videos were embedded in WhatsApp chats and most had been sent to Mr. Nader

months or even years earlier.32 The vast majority of the videos had been sent from other people

to Mr. Nader, and many of those videos were sent in a series of messages attaching various

media. Dr. Berlin has reviewed the images and videos and opines: “In my professional

experience, much of the alleged child pornography depicted on his confiscated cell phones is

quite different in volume, duration, and nature from images often downloaded by those who are

interested in child pornography.” Ex. 1 at 13. Dr. Berlin further explains that “[n]one of the

depicted children were engaging in intimate sexual acts with men or other children” and “many




32
  One of the videos was from November 2015; two of the videos were from December 2016; five
of the videos were from the first half of 2017. See PSR ¶ 50.
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of the video clips lasted for only a relatively few seconds” and “seemed to be a misguided

attempt at perverse humor, rather than a stimulus intended to elicit erotic arousal.” Id.

       Further, there was no forensic evidence that Mr. Nader knew that the videos, embedded

in WhatsApp messages, were still present on his phone. The videos were not saved to Mr.

Nader’s files or videos or anywhere else on his phone, as they would be if Mr. Nader was

collecting them. Indeed, Mr. Nader had thousands of WhatsApp chats and thousands of videos

on his phone, of which these messages were a tiny fraction. There is no evidence showing that

the videos were ever played more than once, if that.

       The context of the exchange of the videos further supports that Mr. Nader did not intend

to—and was not knowingly—transporting the images on his phone to the United States. In

addition to the WhatsApp videos being among thousands of chats and videos on Mr. Nader’s

phone, they were often sent to Mr. Nader as part of a series of videos and links from other

individuals, and many were sent months or even years before Mr. Nader’s trip. For example, in

one exchange, an individual sent Mr. Nader four messages in Arabic, then thirty-one videos, then

the video in question, then ten more videos. PSR ¶ 50(i). Mr. Nader responded solely with two

emojis—it was entirely unclear if the emojis were a response to that video or to one of the other

forty-one videos, or to the messages in Arabic. The videos were also often sent as a part of

completely non-objectionable exchanges of content from the internet between friends. For

example, in another exchange, an individual sent Mr. Nader the video in question, another video,

then a long message in Arabic. Mr. Nader responded “by sending an image of a man that is

overlaid with a discussion in Arabic about an increase in depression among male residents of

Riyadh and then, at 9:02:21AM, Nader sen[t] a video of a dog with a cup of water on his head.”

PSR ¶ 50(n).



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       Mr. Nader’s lack of knowledge is also supported by the fact that the Government had just

searched the very same phones a month earlier, and returned them to Mr. Nader with no

concerns. On December 2, 2017, agents from U.S. Customs and Border Protection (“CBP”)

stopped Mr. Nader at John F. Kennedy International Airport in New York upon Mr. Nader’s

return to the United States from overseas. PSR ¶ 44. According to the CBP report of the

encounter, upon Mr. Nader’s arrival at JFK International Airport, federal agents detained and

questioned Mr. Nader regarding his travels, business, and personal background. See id. During

the encounter, the agents manually searched two smart phones in Mr. Nader’s possession as well

as his belongings, questioned Mr. Nader about the encrypted messaging apps he uses (e.g.,

WhatsApp), and later conducted a “post-analysis” of material from the phones. Id. The CBP did

not seize Mr. Nader’s smart phones or note that contraband of any kind was found on them,

which would convey to any reasonable person—as it conveyed to Mr. Nader—that there was

nothing illegal on his phones. See id.




       Even after the FBI’s discovery of these images, Mr. Nader was permitted to travel to and

from the United States multiple times for                                        the SCO

investigation. He did this despite knowing that the FBI had full access to his phones, and

everything contained in them.



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       C.      Mr. Nader Completes His Immunized                      and Is Then Charged and
               Arrested

                                                                          , he returned to the UAE

and Europe, where he remained for over a year. Unbeknownst to him—



       —on April 19, 2018, the Government charged Mr. Nader in a Criminal Complaint with

one count of alleged transportation of visual depictions of minors in violation of 18 U.S.C.

§ 2252(a)(1) and (b)(1). ECF No. 1. Meanwhile, just days earlier, on April 15, 2019, Mr. Nader

underwent open heart surgery in Hamburg, Germany. ECF No. 58, Ex. 1 (Hamburg medical

records) at 2. He returned to Dubai after his hospital stay and made plans to come to New York

City to undergo post-heart surgery rehabilitation at Mount Sinai Hospital. ECF No. 60 at 4.

       On June 3, 2019, Mr. Nader flew to New York from Dubai to go to Mount Sinai for

treatment. PSR ¶ 136. As soon as Mr. Nader landed, however, he was arrested on the sealed

Complaint. He never made it to Mount Sinai and has yet to receive cardiac aftercare. Upon his

arrest, agents seized from him two additional smart phones, an iPhone X and an iPhone 6.

Forensic examinations of these phones later located eight videos, similar to those recovered from

the iPhone 7 in 2018, which had been sent to Mr. Nader by others in WhatsApp messages.

       A preliminary hearing was held on June 10, 2019. The weaknesses in the Government’s

case were clear at that hearing. A single witness testified that the sole basis for the Complaint

was the set of twelve short videos found exclusively in WhatsApp messages on Mr. Nader’s

phone in 2018. The iPhone 7 contained years’ worth of messages with hundreds of senders and

recipients—and in total the device contained over 250,000 files. The Government offered no

evidence that Mr. Nader had actual knowledge that any of these files were on his iPhone 7 at the

time that he entered the United States on January 17, 2018.


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       On July 3, 2019, the Government indicted Mr. Nader based on those twelve videos.

Despite the lack of evidence that Mr. Nader knowingly brought those images into the United

States, the Government charged Mr. Nader with transportation of child pornography and

transportation of obscenity.

       Additionally, and likely in recognition of the weakness of its evidence with respect to Mr.

Nader’s knowledge of the WhatsApp videos, the Government revived a 20-year-old allegation of

transportation of a minor with intent to engage in sexual activity. That charge comprised the

third count of the indictment. Notably, Mr. Nader had already been convicted and served time in

the Czech Republic for activity involving that same former minor.33

       On October 18, 2019, Mr. Nader filed a motion to dismiss Count 3 of the indictment,

arguing that the statute of limitations had expired with respect to the alleged transportation of a

minor offense from 2000. See ECF Nos. 132, 133. The Court held a hearing on that motion on

November 1, 2019 and denied Mr. Nader’s motion in a written order on November 26, 2019.

       On January 13, 2020, Mr. Nader pled guilty to a two-count Criminal Information, and the

indictment was dismissed. Mr. Nader did not plead guilty to the two counts related to the recent

charges from Counts 1 and 2 of the indictment. Rather, he pled guilty to Count 3 from the initial

indictment, reserving his right to appeal this Court’s denial of his motion to dismiss. He also

pled guilty to an additional count of possession of child pornography, in violation of 18 U.S.C. §

2252(a)(4) and (b)(2). That charge, too, was from long ago. Mr. Nader pled to possessing




33
  Mr. Nader was not convicted in the Czech Republic for the conduct involving Minor Boy 1
that took place in the United States in 2000. In 2003, however, Mr. Nader was convicted and
sentenced for conduct involving Minor Boy 1 that occurred in the Czech Republic, which is
where they met.
                                                 26
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images from 2012, and for which the images themselves were never recovered. Thus, the only

charges to which Mr. Nader pled were for conduct from 2000 and from 2012.

       D.      The Offense Conduct Underlying Mr. Nader’s Plea

       Mr. Nader did not knowingly bring illegal videos into the United States in 2018, see 18

U.S.C. § 2252(a)(1), which was the charge on which he was arrested and detained. See

discussion in Section II.B, supra. Rather, in his plea to Count 1 of the Information, Mr. Nader

admitted to receiving emails from an associate, D.S., between September 20 and October 1,

2012, that contained at least one video depicting child pornography. See PSR ¶¶ 18-26. In part

because these emails were sent to Mr. Nader nearly eight years ago, the links to the material are

no longer functional. As a result, there is no information regarding the content of these videos

beyond the URLs and the facts to which Mr. Nader has stipulated in order to reach a plea deal.

       Mr. Nader’s conviction on Count 2 relates to conduct that is two decades old. Mr. Nader

brought MINOR BOY 1 to the United States more than twenty years ago, in February 2000.

Although the Court denied Mr. Nader’s motion to dismiss this count based on the statute of

limitations, there are several mitigating aspects of this charge—including the nearly two-decade

delay in bringing it—that the defense respectfully asks the Court to consider when determining

the appropriate sentence.

       First, Mr. Nader’s conduct has not gone unpunished for all of these years. About two

years after Minor Boy 1 left the U.S. and returned home, Mr. Nader was convicted and served

prison time in the Czech Republic in part for his relationship with Minor Boy 1 See PSR ¶ 123.

       Second, the Government previously investigated Mr. Nader’s relationship with Minor

Boy 1 and declined to bring charges. The Government has been aware since 2002 that Minor

Boy 1 briefly lived with Mr. Nader in the United States, and it was also aware of Mr. Nader’s

Czech conviction in 2003. ECF No. 127, Ex. 1 at US-00000862-5. Discovery in this case
                                                27
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revealed that the Government’s investigation of Mr. Nader went on for eight years. See ECF No.

127, Ex. 3 at US-00000001 (“From May 2002 through July 2010, George Aref Nader was

investigated for child sex tourism and possession of child pornography.”). Although Mr. Nader

was living overseas for much of this time, he returned to the United States in 2009, prior to the

expiration of the then-applicable statute of limitations. The Government was aware of his

presence in the United States, but declined to prosecute him at that time. See ECF No. 127, Ex.

2, at US-00000575 (“The USAO declined prosecution when Nader returned to the Unites States

in 2009.”). In 2010, the Government closed the case and returned or destroyed all the evidence.

Id. (“The case was closed in 2010. All evidence was returned or destroyed.”). 34

       Third, Mr. Nader is committed to never re-offending, as he expressed in both his written

acceptance of responsibility in the PSR and to Dr. Berlin. Indeed, Mr. Nader had stopped having

unlawful sexual contact with individuals under the age of consent years ago. See Ex. 1 at 7, 10.



34
   One potential reason the Government declined to charge Mr. Nader during that time is that
Minor Boy 1’s story has been highly inconsistent. Minor Boy 1 has given multiple statements to
various law enforcement authorities about his time with Mr. Nader in the United States,
including to the Czech police, the Monterrey, California police department, and the FBI. His
account of key events has varied significantly. On May 14, 2002, the Czech police directly
asked Minor Boy 1 how many times he had sex with Mr. Nader in the United States. Minor Boy
1 stated that during his 3.5 month stay, Mr. Nader performed oral sex on him only once, and he
did not claim there had been any other sexual contact or abuse. See PSR ¶ 61. When Minor Boy
1 (who, by this time, was an adult) gave oral and written statements to the Monterrey police in
March 2012, he did not mention having any sexual contact at all with Mr. Nader in the United
States. But when the FBI sought out Minor Boy 1 in 2018 in connection with this federal case,
Minor Boy 1 changed his story again, this time claiming that he lied to the Czech police and
actually had many sexual encounters with Mr. Nader in the U.S., as frequently as every 1-2 days.
See PSR ¶ 61. Minor Boy 1 apparently now claims that, after he returned to the Czech Republic,
he again saw Mr. Nader—something that Minor Boy 1 did not say in any of his three interviews
with law enforcement (in 2002 with the Czech police, in 2012 with California police, or in 2018
with the FBI). The PSR notes this contradiction—that Minor Boy 1 “initially reported he had no
additional contact with Nader following his return from the United States” but “subsequently
reported” that he saw Mr. Nader “many times” after his return. PSR ¶ 62.


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He also ceased seeking out pornography featuring adolescents as he had in years past. Though

he acknowledges that others, who were aware of his prior interest in child pornography, have at

times sent him unsolicited images, there is no evidence Mr. Nader has produced, purchased,

distributed, or collected child pornography in many years.

                                          DISCUSSION

III.   THE AGREED-UPON TEN YEAR SENTENCE IS APPROPRIATE UNDER THE
       FACTORS SET FORTH IN 18 U.S.C. § 3553(a)

       Pursuant to the Plea Agreement, the Government and Mr. Nader have agreed to a joint

recommendation of a ten-year sentence in this case. When evaluating this recommendation, the

Court should consider that the Government agreed to make this recommendation knowing all of

the circumstances surrounding this case, including its previous investigation of Mr. Nader’s

conduct with Minor Boy 1 and the relative seriousness of the number and content of the videos

on Mr. Nader’s phones. It is thus well-positioned to make an informed decision regarding the

offense, the harm caused by the offense, and the need to protect the public. The Government’s

willingness to recommend ten years reflects that such a length of incarceration is a significant

punishment.

       The overarching goal of any sentencing is to “impose a sentence sufficient, but not

greater than necessary” to accomplish the purposes of sentencing. 18 U.S.C. § 3553(a). Section

3553(a) instructs courts to consider the following factors when determining a sentence: (1) the

nature and circumstances of the offense and the history and character of the defendant; (2) the

purposes of sentencing; (3) the applicable advisory sentencing Guideline range; and (4) the need

to avoid unwarranted sentencing disparities among defendants with similar records who have

been found guilty of similar misconduct. See 18 U.S.C. § 3553(a). These factors, along with the

parties’ joint recommendation, support the appropriateness of a ten-year sentence.


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       A.      The Nature and Characteristics of the Offense, and the History and
               Character of the Defendant Are Adequately Reflected in the Parties’
               Recommended Ten-Year Sentence

       The nature and characteristics of the offenses to which Mr. Nader pled are serious, to be

sure. He acknowledges that his conduct was completely unacceptable. In his written acceptance

of responsibility, Mr. Nader writes, “I take full responsibility for my conduct. Though it

occurred some time ago, I want to apologize now to all those who are involved. I am deeply

sorry and am doing everything I can to make amends.” PSR ¶ 67. Mr. Nader has resolved not to

re-offend. To that end, he is committed to completing the mental health counseling Dr. Berlin

has recommended in his report.

       That said, in accounting for the nature and characteristics of the offense, there are several

mitigating factors. First, there has never been any allegation that Mr. Nader used physical force

against anyone. Second, the offenses were also long ago. Finally, ten years is a very substantial

period of incarceration, particularly for someone of Mr. Nader’s age and poor health. That, in

part, is why the parties have agreed that ten years is a sufficient sentence here.

       Mr. Nader’s history and character also suggest that ten years of incarceration is enough.

The parties’ recommended sentence reflects Mr. Nader’s decades of service to the United States

and his humanitarian and diplomatic efforts abroad. As Dr. Berlin emphasized: “Mr. Nader’s

charged acts do not define him as an individual. He is a complex person with many strengths of

character. He has spent much of his life working on behalf of Middle East peace.” Ex. 1 at 14.

       B.      The Purposes of Sentencing Are Served by the Parties’ Recommended Ten-
               Year Sentence

       18 U.S.C. § 3553(a)(2) identifies four purposes of sentencing: to (1) “reflect the

seriousness of the offense… and to provide just punishment for the offense”; (2) “afford

adequate deterrence to criminal conduct”; (3) “protect the public from further crimes of the


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defendant”; and (4) “provide the defendant with needed educational or vocational training,

medical care, or other correctional treatment in the most effective manner.” A ten-year term of

imprisonment accomplishes those objectives without being greater than necessary.

       1. The proposed sentence reflects the seriousness of the offense. Ten years in prison is,

by any humane measure, a substantial period of incarceration. That is especially true for Mr.

Nader, who is 61 years old and is suffering from a number of serious health issues; the reality is

that Mr. Nader may well not survive a ten-year sentence. A ten-year sentence is also particularly

harsh for Mr. Nader, who at his current age has little risk of re-offending, because in that

instance only a small part of his sentence can be said to reflect a need to deter him from future

misconduct. The great majority of the sentence, rather, serves to satisfy this sentencing

objective: It is a significant punishment that reflects the seriousness of the offense.

       Additionally, Mr. Nader has agreed to pay restitution in this case and has worked with

Minor Boy 1’s counsel to reach an agreement for the sum of $150,000. This is a significant

amount of restitution in this type of case. See United States v. Justin Deonta Strom, 1:12-cr-

00159-LMB (E.D. Va. Sept. 14, 2012) (restitution of total of $91,925.94 allotted amongst three

different complainants where defendant masterminded sex trafficking operation that prostituted

teenagers, and also choked and raped one of the 16-year-olds); United States v. Eric Noe Araujo

Flores, 1:15-cr-00320 (E.D. Va. June 3, 2016) (restitution of $40,370.00 where defendant lured

14-year-old girl from El Salvador to United States and raped her multiples times, sometimes

under threat of beating and deportation); see also United States v. Schneider, 801 F.3d 186, 189-

91 (3d Cir. 2015) (restitution of $35,000 where defendant took in 12-year-old boy who had

trouble paying for ballet school and engaged in sex acts with him over course of years, which

eventually progressed to anal sex three to four times per week).



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        2. The proposed sentence affords adequate general deterrence. For those same reasons, a

ten-year term of incarceration affords adequate general deterrence, particularly on the child

pornography charge where the conduct took place eight years ago; the conduct involved receipt

only (and not distribution); and so few images were involved. By their nature, mandatory

minimum sentences send an especially strong deterrent signal to offenders Mr. Nader’s age,

because the older an offender is, the more likely it is that the last portion of his or her life will be

spent in prison. Even were that not so, a ten-year term of imprisonment is substantial for

anybody. It serves adequately to deter this kind of conduct.

        3. The proposed sentence is far more than necessary to foster specific deterrence. For

reasons already explained, there is very little need here to foster specific deterrence. Mr. Nader’s

illicit activity has seriously diminished in recent years. He is committed to never again having

sex with anyone under the age of consent or engaging in any illegal activity. PSR ¶ 68; Ex. 1 at

7.

        As Dr. Berlin confirms, Mr. Nader’s “future prognosis is very good,” and his risk for

recidivism is low. This is not only due to his advanced age, but also because he has does not

have any conditions that frequently lead to relapse into criminal sexual behavior, such as drug

addition, alcoholism, or antisocial personality disorder. Ex. 1 at 14. Moreover, Dr. Berlin

stressed that Mr. Nader fully understands that if he were to commit a future offense—or even

just a violation of his conditions of supervised release—he would “likely die as an old man in

prison” and “[h]e does not want to do that.” Id. Dr. Berlin further noted that Mr. Nader will

benefit from the mental health counseling and sex offender treatment he will receive while

incarcerated, and that Mr. Nader “is a man with considerable psychological strengths that

facilitate future success.” Id.



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       Dr. Berlin’s conclusion that Mr. Nader is unlikely to re-offend at his age is backed by

extensive research about the low rates of recidivism among sexual offenders in general,

especially those over age 60. Research has shown that sexual re-offending past age 60 is

extremely low—one study found “[t]here were very few recidivists among the sexual offenders

released after age 60”—only 3.8%. R. Karl Hanson, Recidivism and Age: Follow-Up Data from

4,673 Sex Offenders, J. Interpersonal Violence (Oct. 2002).

       Given the above, a ten-year sentence is sufficient, and in fact far greater than necessary,

to effect specific deterrence.

       C.      The PSR Incorrectly Calculates Mr. Nader’s Guidelines Range

       Mr. Nader respectfully submits that the Guidelines range reflected in the PSR is

incorrect, and lodges the below objections for the Court’s consideration.

                   1. Application of the 2018 Guidelines Manual to Mr. Nader’s Conviction for
                      Transportation of a Minor in 2000 Violates the Ex Post Facto Clause

       Mr. Nader objects to the PSR author’s use of the 2018 Guidelines Manual, rather than the

1998 Guidelines Manual, to calculate his offense level for the transportation offense in Count 2.

The Government and Mr. Nader have jointly recommended that the Court apply the 1998

Guidelines Manual to Count 2. PSR ¶ 6; PSR Addendum at 43. The Court should follow this

recommendation, not only to give effect to the parties’ mutual agreement, but also because doing

otherwise would violate Mr. Nader’s constitutional rights.

       The policy statement35 in U.S.S.G. § 1B1.11, known as the “one book rule,” cannot be

applied when doing so would violate the ex post facto clause of the Constitution, U.S. Const.


35
  The one-book rule is a policy statement by the Sentencing Commission, which the Court is not
required to follow. An agency’s interpretation of its own regulations is only given “controlling
weight” where its interpretation “does not violate the Constitution or a federal statute.” Stinson v.
United States, 508 U.S. 36, 45 (1993); see also United States v. McMillian, 777 F.3d 444, 448


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art. I, § 9, cl. 3, as it does in Mr. Nader’s case. Calculation of his offense level for Count 2 using

the 2018 Guidelines is both retrospective and disadvantageous to Mr. Nader. See, e.g., United

States v. Lewis, 235 F.3d 215, 218 (4th Cir. 2000) (“[A] law violates the Ex Post Facto Clause

when it is retrospective—i.e., when it applies to events predating its enactment—and it

disadvantages those to whom it applies.”) (citing Lynce v. Mathis, 519 U.S. 433, 441 (1997)).

       First, use of the 1998 Guidelines with respect to Count 2 is unquestionably retrospective.

Mr. Nader’s offense conduct charged in Count 2 ended when Minor Boy 1 left the United States

on March 18, 2000—nearly two decades prior to the effective date of the 2018 Guidelines. PSR

¶¶ 27-33. The 1998 version of the Guidelines was then in effect.

       Second, use of the 2018 Guidelines is disadvantageous to Mr. Nader because it

significantly increases his total offense level for the same conduct. The Government and

Mr. Nader agree that under the 1998 Guidelines, the total offense level for Count 2, including

then-applicable enhancements, is 23. PSR ¶ 6 (base offense level 14, plus seven-level

enhancement for age of victim and two-level enhancement because victim was otherwise in

custody, care, or supervisory control of defendant). However, under the 2018 Guidelines, the

PSR has calculated Mr. Nader’s adjusted offense level for Count 2 as 34—eleven levels higher.

PSR ¶¶ 80-87 (base offense level 28 plus three 2-level enhancements). 36

       The increased offense level for Count 2 alters the calculation of Mr. Nader’s combined

adjusted offense level pursuant to § 3D1.4 in the 2018 Guidelines. PSR ¶¶ 88-91. Count 1 is the




(7th Cir. 2015) (Posner, J.) (“The [one book] rule is not statutory, and so does not bind a
sentencing judge.”). In Mr. Nader’s case, the application of the one book rule would violate the
ex post facto clause of the Constitution, and thus the Court need not—indeed cannot—follow it.
36
  Mr. Nader specifically objects to the adjustments in PSR ¶¶ 82 and 83 because they did not
exist in the 1998 Guidelines Manual.

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group with the highest offense level and is assigned 1 unit.37 Using the incorrect offense level of

34, Count 2 is presently assigned one unit because it is between 1 and 4 levels less serious than

Count 1 (presently calculated as 38). PSR ¶ 88. However, when the 1998 Guidelines are used to

calculate the proper offense level for Count 2, it is disregarded and does not increase the

adjusted offense level because it is more than 9 levels less serious than Count 1. See U.S.S.G.

§ 3D1.4(c); PSR Addendum at 44. Consequently, Mr. Nader’s combined adjusted offense level

is not increased by 2 levels, and should be 33 rather than 40. PSR ¶ 91. Mr. Nader’s total

offense level should therefore be 35, not 42. PSR ¶ 95.

       Mr. Nader’s criminal history category is I. PSR ¶ 156. Therefore, when the 1998

Guidelines are used for Count 2, his guidelines range is 168 to 210 months. This is dramatically

lower than the range of 360 to 600 months presently calculated. Id. This increase in

Mr. Nader’s guidelines range violates the ex post facto clause. See, e.g., Peugh v. United States,

569 U.S. 530 (2013) (finding ex post facto violation “when a defendant is sentenced under

Guidelines promulgated after he committed his criminal acts and the new version provides a

higher applicable Guidelines sentencing range than the version in place at the time of the

offense”).

       Third, Mr. Nader did not have fair notice of potentially increased punishment for his past

conduct charged in Count 2. “The central concern of the ex post facto prohibition is ‘the lack of

fair notice and governmental restraint when the legislature increases punishment beyond what

was prescribed when the crime was consummated.’” Lewis, 235 F.3d at 217-18 (quoting Miller

v. Florida, 482 U.S. 423, 430 (1987)). Importantly, the Constitution requires not just any notice,



37
  Based on Mr. Nader’s objections to the specific offense characteristic enhancements discussed
above in Section III.B, supra, the correct offense level for Count 1 should be 33 rather than 38.

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but notice that is “fair.” E.g., Weaver v. Graham, 450 U.S. 24, 30 (1981). “The constitutional

prohibition against ex post facto laws cannot be avoided merely by adding to a law notice that it

might be changed.” Miller, 482 U.S. at 431.

       The question of whether the ex post facto clause is violated when a revised edition of the

Guidelines is applied to offenses that both predate and postdate the revision is one that has

divided the courts of appeal. The Ninth Circuit has held that the one-book rule violates the ex

post facto clause in every circumstance in which it would apply a heightened guidelines range to

a crime that is completed before the guidelines were amended to increase the punishment for that

offense. See United States v. Ortland, 109 F.3d 539, 547 (9th Cir. 1997) (finding that mail fraud

is a completed, rather than continuing, offense and thus “[a]pplication of the policy statement in

this case would violate the Constitution”). Mr. Nader’s transportation of a minor in violation of

18 U.S.C. § 2423(a) was an offense that was completed no later than March 18, 2000, when

Minor Boy 1 left the United States. Therefore, under this standard (which Mr. Nader submits is

the appropriate one), the application of the 2018 Guidelines to Count 2 would clearly be an ex

post facto violation.

       The majority of circuits have adopted a different standard, holding that the ex post facto

clause is not violated by the one-book rule only as applied to a series of similar or identical

offenses. See, e.g., United States v. Ngombwa, 893 F.3d 546, 553 (8th Cir. 2018) (approving

application of one-book rule “only when applied to grouped offenses”); United States v.

McMillian, 777 F.3d 444, 448 (7th Cir. 2015) (Posner, J.) (“one-book rule should not be applied

indiscriminately,” for example when the “victim of the old offense is different from the victim of

the new one”); United States v. Siddons, 660 F.3d 699, 707 (3d Cir. 2011) (applying one-book

rule to “ongoing, connected fraudulent conduct occurring both before and after the enactment of



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the sentencing enhancement”); United States v. Kimler, 167 F.3d 889, 895 (5th Cir. 1999) (“a

defendant has notice that the version of the sentencing guidelines in effect at the time he

committed the last of a series of grouped offenses will apply to the entire group”); United States

v. Bailey, 123 F.3d 1381, 1404-05 (11th Cir. 1997) (“[T]he one book rule, together with the

Guidelines grouping rules and relevant conduct, provide that related offenses committed in a

series will be sentenced together under the ... Manual in effect at the end of the series.”). In

Lewis, the Fourth Circuit did not discuss the grouping rules, but concluded that there had been no

ex post facto violation when a later-enacted Guidelines manual was applied to a series of four

counts of tax evasion occurring both before and after the adoption of the one-book rule. See

Lewis, 235 F.3d at 218.

       The use of the 2018 Guidelines with respect to Mr. Nader’s conviction on Count 2 also

violates the ex post facto clause under this standard. Mr. Nader’s convictions were not repeated

violations of the same statute, as in Lewis, nor were they sufficiently similar to be grouped under

the guidelines. PSR ¶ 88 (not grouping Count 2 with Count 1); see Ngombwa, 893 F.3d at 553

(only finding sufficient notice under ex post facto clause for grouped offenses); Bailey, 123 F.3d

at 1404-05 (same); Kimler, 167 F.3d at 895 (same). Mr. Nader’s conviction for transportation of

a minor was not a continuing offense; it was completed in 2000. See McMillian, 777 F.3d at

448-49 (noting that each of four convictions for transporting women across state lines to engage

in prostitution was distinct, completed offense and that offenses against different people

generally cannot be grouped). Mr. Nader’s offenses did not involve the same victim. See id. at

448 (one-book rule should not be applied “in a case in which the victim of the old offenses is

different from the victim of the new one”). Moreover, Mr. Nader’s later possession of child

pornography offense was not designed to conceal or “embrace” his prior transportation offense.



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See Ngombwa, 893 F.3d at 555 (applying one book rule where false statement was intended to

conceal naturalization fraud occurring years prior).

       Indeed, the only notice Mr. Nader arguably had that his sentence could be increased for

his decades-old transportation offense was the existence of the one-book rule itself. But this

“carr[ies] the proposition that ignorance of the law is no defense to a preposterous extreme.”

McMillian, 777 F.3d at 449. It amounts to nothing more than a “notice that [the law] might be

changed,” which is not “fair” notice under the ex post facto clause. Miller, 482 U.S. at 431.

                   2. The PSR Improperly Applies Two Specific Offense Characteristic
                      Adjustments to Count 1

                              a. The Court Should Not Increase Mr. Nader’s Guidelines Based
                                 on the Images Seized in 2018 and 2019.

       The Court should not apply the adjustments in paragraphs 71 and 75 of the PSR. These

adjustments are based solely on the images found on Mr. Nader’s phones in 2018 and 2019,

rather than the offense conduct from 2012 to which Mr. Nader pled guilty. The videos from

2018 and 2019 cannot form the basis for application of any adjustments for specific offense

characteristics under U.S.S.G. § 2G2.2 for two independent reasons. See PSR ¶¶ 71, 75. As

discussed below, (1) these images are not “relevant conduct” under the Guidelines; and (2) the

factual basis for these increases is not supported by a preponderance of evidence.

       Mr. Nader pled guilty to a Criminal Information charging him only with possession of

child pornography between September 20 and October 1, 2012, while he was located in the

Southern District of New York. ECF No. 165; PSR ¶ 4. After it accepted Mr. Nader’s plea, the

Court dismissed the indictment—including Count 1 alleging transportation of child pornography

based on the images found on the iPhone 7 seized in January 2018 in the Eastern District of

Virginia. PSR ¶ 4. Mr. Nader was never charged for the images found on the phone that was



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seized in New York when he was arrested in June 2019. For at least two reasons, the Court

cannot now use this unadjudicated conduct to increase Mr. Nader’s offense level.

        First, the images found in 2018 and 2019 are wholly unrelated to the offense for which

Mr. Nader was convicted, and thus are not “relevant conduct” for the purpose of Chapter 2

adjustments. U.S.S.G. § 1B1.3 provides that specific offense characteristics “shall be determined

on the basis of . . . all acts and omissions committed . . . by the defendant . . . that occurred

during the commission of the offense of conviction, in preparation for that offense, or in the

course of attempting to avoid detection or responsibility for that offense.” U.S.S.G.

§ 1B1.3(a)(1)(A) (emphasis added). This requires that there be both a temporal and substantive

overlap between the relevant conduct and the conduct constituting the crime of conviction. See

United States v. Agyekum, 846 F.3d 744, 751 (4th Cir. 2017) (“[T]he term ‘during’ conveys a

linkage that is more than a mere temporal overlap; it also conveys a qualitative overlap such that

the conduct must be related or connected to the crime of conviction.”) (emphasis in original).

        The unadjudicated 2018-19 conduct is not temporally related to the offense of conviction,

as it occurred more than five years later. Nor is the alleged 2018-19 conduct related or

connected to Mr. Nader’s possession of child pornography in 2012. The 2018-19 conduct

allegedly occurred outside the United States 38 and did not involve communications with D.S.

And there is no evidence that the alleged 2018-2019 conduct involved any of the same images as

Mr. Nader’s offense of conviction.




38
  The application of this enhancement is also prohibited by the canon of presumption against
extraterritorial application, which provides that “when a statute gives no clear indication of an
extraterritorial application, it has none” and reflects “the presumption that United States law
governs domestically but does not rule the world.” Kiobel v. Royal Dutch Petroleum Co., 569
U.S. 108, 115 (2013) (citations omitted).

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       Notably, the PSR does not address Mr. Nader’s argument that the 2018-19 videos fall

outside the definition of relevant conduct under U.S.S.G. § 1B1.3(a)(1)(A). PSR Addendum at

39-41. This silence should be treated as an implicit concession that there is no defensible way to

consider conduct occurring five to six years later as happening “during the commission of the

offense of conviction.” U.S.S.G. § 1B1.3(a)(1)(A).

       Instead, the PSR states that the 2018-19 videos constitute “relevant conduct” under

U.S.S.G. § 1B1.3(a)(2). This is also incorrect. That Application Instruction provides that, solely

with respect to offenses of a character that would require grouping of multiple counts, “relevant

conduct” includes “all acts and omissions . . . that were part of the same course of conduct or

common scheme or plan as the offense of conviction.” U.S.S.G. § 1B1.3(a)(2). 39

       In assessing conduct for purposes of § 1B1.3(a)(2), “the significant elements to be

evaluated are similarity, regularity and temporal proximity between the offense of conviction and

the uncharged conduct.” United States v. Mullins, 971 F.2d 1138 (4th Cir. 1992). “If the

uncharged conduct is both solitary and temporally remote, then there must be ‘a strong showing

of substantial similarity.’” Id.

       Without question, the asserted “relevant conduct” here is temporally remote from

Mr. Nader’s offense of conviction. The videos found on Mr. Nader’s phones in 2018 and 2019

were received between five and six years after the images he admitted possessing in 2012.

Courts rightfully have been very wary of including such remote actions as relevant conduct. See,


39
  A “common scheme or plan” requires that the offense of conviction and the other alleged
offense conduct be “substantially connected to each other by at least one common factor,” such
as common victims or common accomplices. U.S.S.G. § 1B1.3, Application Note 5(B)(i).
Further, two offenses may only be considered part of “the same course of conduct” if the
defendant’s actions are “sufficiently connected or related to each other as to warrant the
conclusion that they are part of a single episode, spree, or ongoing series of offenses.” U.S.S.G.
§ 1B1.3, Application Note 5(B)(ii).

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e.g., United States v. Dugger, 485 F.3d 236, 242 (4th Cir. 2007) (uncharged drug distribution

was not relevant conduct for drug distribution conviction where the uncharged conduct occurred

more than a year later); Mullins, 971 F.2d at 1144 (“Regularity and temporal proximity are

extremely weak here, if present at all, as the uncharged conduct took place over six months prior

to the two phone calls underlying the offense of conviction.”); United States v. Griffith, 115 F.

Supp. 3d 726, 738 (S.D. W. Va. 2015) (“Where the gap in time between the offenses is as long

as . . . two years . . . the court must be cautious and exacting in permitting such relatively stale

dealings to be included in the same course of conduct as the offense of conviction.”) (quotation

marks and citations omitted).

        Particularly in light of the many intervening years, there is insufficient similarity or

regularity between the offense of conviction and the purported “relevant conduct.” There is no

evidence whatsoever of regularity; the Statement of Facts does not describe any conduct by

Mr. Nader between 2012 and 2018. PSR ¶¶ 14-43. Nor is the conduct sufficiently similar. The

2012 offense conduct and the 2018-19 unadjudicated conduct have no common victims or

accomplices. The 2018-19 videos involved wholly different images and communications from

different individuals than the 2012 possession for which Mr. Nader was convicted. The

Government concedes that those videos were sent and received outside the United States,

whereas the 2012 conduct occurred in New York. There is no continuous course of conduct

here.

        To the extent that the Government argues that the unadjudicated conduct is part of the

same course of conduct as Mr. Nader’s possession of child pornography six years earlier because

both involve “sexual interest in children,” that thread is far too thin to support the application of a

relevant conduct adjustment. “[I]t is not sufficient that other crimes are ‘of the same kind’ as the



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charged offense if they are not part of the same course of conduct or plan.” Mullins, 971 F.2d at

1145. As the Fourth Circuit has held:

          to describe [defendant’s] conduct at such a level of generality . . .
          eviscerate[s] the evaluation of whether uncharged criminal activity is part
          of the “same course of conduct or common scheme or plan” as the offense
          of conviction. With a brushstroke that broad, almost any uncharged
          criminal activity can be painted as similar in at least one respect to the
          charged criminal conduct. “The goal of the provision . . . is for the sentence
          to reflect accurately the seriousness of the crime charged, but not to impose
          a penalty for the charged crime based on unrelated criminal activity.”

Id. (quoting United States v. Wood, 924 F.2d 399, 404 (1st Cir. 1991)). Indeed, the fact that

Count 1 and Count 2 are not groupable under the Guidelines (see PSR ¶ 88) illustrates that not

all offenses that arguably reflect a “sexual interest in children” are part of a continuous course of

conduct—particularly when the offenses are separated by many years.

          Second, for all of the reasons discussed in Background Section II.B supra, the

preponderance of the evidence does not support the allegation that Mr. Nader knowingly

transported the images into the United States. See United States v. Arbaugh, 951 F.3d 167, 173

(4th Cir. 2020) (Government must prove applicability of sentencing enhancements by

preponderance of evidence).

          Furthermore, many of the videos do not depict minors “engaged in sexually explicit

conduct.” 40 As a general matter, the videos do not feature the children’s genitalia as a focal

point; the setting of the visual depictions are not sexually suggestive; the children are not in

unnatural poses or inappropriate attire, considering the children’s ages; though many of the

children are partially clothed, almost all, if not all, of the videos depict children in other

countries, where a different state of dress for children could be culturally acceptable; the visual




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     Mr. Nader also objects to the characterization of the videos this way in paragraph 49 of the PSR.
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depictions do not suggest sexual coyness or willingness to engage in sexual activity; and the

visual depictions are not intended or designed to elicit sexual responses from the viewer. See

United States v. Boudreau, 250 F.3d 279, 282 n.2 (5th Cir. 2001). 41 As Dr. Berlin has opined,

many of the videos seemed to be “a misguided attempt at perverse humor, rather than a stimulus

intended to elicit erotic arousal.” Ex. 1 at 13. Thus, for the majority of the videos, the

preponderance of the evidence fails to establish that they are child pornography at all.

                               b. The Section 2G2.2(b)(3)(F) Adjustment for Distribution of
                                  Child Pornography Does Not Apply

       Mr. Nader objects to the 2-level adjustment for distribution of child pornography

pursuant to U.S.S.G. § 2G2.2(b)(3)(F). PSR ¶ 71. This was not an adjustment that was agreed

upon in Mr. Nader’s plea agreement. See PSR ¶ 6 (listing four other agreed-upon adjustments,

but not distribution). Mr. Nader pled guilty only to possession of child pornography between

September 20 and October 1, 2012. ECF No. 165; PSR ¶ 4. The Statement of Facts

incorporated into Mr. Nader’s plea agreement reflects that the Government cannot prove by a

preponderance of the evidence that Mr. Nader knowingly distributed child pornography in

connection with his offense of conviction. See PSR ¶¶ 20-26 (describing only Mr. Nader’s

receipt of links to child pornography from D.S.).




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   The court in Boudreau analyzed images to determine if they were “lascivious,” and thus
“sexually explicit,” under 18 U.S.C. § 2256(2)(A)(v) under the six “Dost” factors: “(1) whether
the focal point of the visual depiction is on the child’s genitalia or pubic area; (2) whether the
setting of the visual depiction is sexually suggestive, i.e. in a place or pose generally associated
with sexual activity; (3) whether the child is depicted in an unnatural pose, or in inappropriate
attire, considering the age of the child; (4) whether the child is fully or partially clothed, or nude;
(5) whether the visual depiction suggests sexual coyness or a willingness to engage in sexual
activity; (6) whether the visual depiction is intended or designed to elicit a sexual response in the
viewer.” Boudreau, 250 F.3d at 282 n.2 (citing United States v. Dost, 636 F. Supp. 828 (S.D.
Cal. 1986)).
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       Finally, as discussed above, Mr. Nader’s unadjudicated conduct from 2018-19 cannot

support the application of this enhancement because it is not “related or connected to the crime

of conviction,” Agyekum, 846 F.3d at 751, and because it has not been proven that the images

constitute child pornography. In addition, these images had nothing to do with the United States

and were exclusively sent and received abroad.

                               c. Section 2G2.2(b)(7)(D) 5-Level Adjustment for More Than 600
                                  Images Does Not Apply

       Mr. Nader further objects to the 5-level adjustment for an offense involving 600 or more

images. PSR ¶ 75. In his plea agreement, Mr. Nader admitted that he knowingly possessed or

knowingly accessed with intent to view “at least one video of child pornography” between

September 20 and October 1, 2012, as part of his offense of conviction. PSR ¶ 26. Pursuant to

U.S.S.G. § 2G2.2, one video is the equivalent of 75 images. See U.S.S.G. § 2G2.2, Application

Note 6(B)(ii). The links that Mr. Nader received from D.S. during the relevant timeframe, as

listed in the Statement of Facts in Mr. Nader’s plea agreement, see PSR ¶¶ 20-26, are no longer

accessible. Therefore, the Government cannot prove by a preponderance of the evidence that

Mr. Nader’s offense involved more than 75 images. See Arbaugh, 951 F.3d at 173.

       Once again, the videos located on Mr. Nader’s phones in 2018 and 2019 cannot be used

to enhance the guidelines for his unrelated offense of conviction that was completed in 2012.

Mr. Nader’s 2018-19 conduct occurred between five and six years after the offense conduct to

which he pled guilty, it did not involve any of the same images or communications with the same

people, and it largely occurred outside the United States. Moreover, the Government has not

proven which, if any, of the 2018-19 images constitute child pornography.

       Accordingly, the correct adjustment under § 2G2.2(b)(7) is a 2-level increase for at least

ten, but fewer than 150 images (i.e., the range for a single video).


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       D.      The Guidelines Range Fails to Identify the “Sufficient But Not Greater Than
               Necessary” Sentence

       In determining what sentence is appropriate, the applicable advisory Guidelines range is

only a starting point. See Gall v. United States, 552 U.S. 38, 49-50 (2007). As this Court is well

aware, the Guidelines are merely “one factor among several courts must consider in determining

an appropriate sentence.” Kimbrough v. United States, 552 U.S. 85, 90 (2007). Mr. Nader also

submits that it is appropriate in this case for the Court to give more weight to the parties’ joint

ten-year recommendation than the Guidelines.

       A sentencing court “may not presume that the Guidelines range is reasonable” and must

consider all of the 18 U.S.C. § 3553(a) factors before determining the appropriate sentence, so

that it can make “an individualized assessment based on the facts presented.” Id. at 50-52. And

indeed, the court can find that a “Guidelines sentence itself fails properly to reflect § 3553(a)

considerations.” Rita v. United States, 551 U.S. 338, 351 (2007); see also Kimbrough, 552 U.S.

at 101-102 (noting that “courts may vary [from Guidelines ranges] based solely on policy

considerations, including disagreements with the Guidelines”).

       For all of the reasons discussed above, a term of incarceration of ten years is the sentence

that is sufficient, but not greater than necessary, to meet the goals of sentencing. But there are at

least five additional reasons that the Court should impose this sentence, which the Government

and Mr. Nader agree is appropriate in this case.

       First, these offenses are not recent, and Mr. Nader committed not to re-offend even

before his arrest in this case. As Dr. Berlin writes, Mr. Nader “finds it to be a ‘sad irony’ that

now that he has largely changed his behavior, he is on trial for past alleged actions.” Ex. 1 at 10.

Id.




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        Second, Mr. Nader’s guidelines range on the child pornography charge is driven by a

number of enhancements that the United States Sentencing Commission has repeatedly

criticized. In its 2013 report, the Sentencing Commission found that the current sentencing

scheme in U.S.S.G. § 2G2.2 does not accurately measure the severity of non-production child

pornography offenses. United States Sentencing Commission, Federal Child Pornography

Offenses at 207, 321 (Feb. 2013).42 Conduct that is now typical of almost every child

pornography offense “triggers multiple guideline enhancements and exposes the vast majority of

defendants today to substantial penalty ranges.” Id.

        Three of the enhancements that apply to this case—nature and volume of the images

possessed and an offender’s use of a computer—are ones that the Commission identified as

“being applied routinely to most offenders.” Id. at 313. For example, in 2010, the “typical non-

production offender” was subject to three of the four enhancements present here—images of pre-

pubescent minors, use of a computer, and quantity of images—in more than 96 percent of cases.

Id. at 316.

        Third, as to Count 2, it should be noted that Mr. Nader was already convicted in the

Czech Republic for conduct that involved Minor Boy 1 there. Though this is Mr. Nader’s first

conviction in the United States related to that behavior, it should be noted that he has already

served a year of incarceration related to activity with Minor Boy 1 PSR ¶ 123.

        Fourth, Mr. Nader will be particularly vulnerable to abuse in prison, and may require

extended periods of time in administrative segregation to ensure his safety, due to his convictions



42
  Available at: https://www.ussc.gov/sites/default/files/pdf/news/congressional-testimony-and-
reports/sex-offense-topics/201212-federal-child-pornography-
offenses/Full_Report_to_Congress.pdf


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for crimes involving underage males and the extraordinary amount of publicity surrounding his

case. See, e.g., United States v. DeBeir, 186 F.3d 561, 568 (4th Cir. 1999) (“extreme

vulnerability in prison is a factor that the Guidelines did not take into consideration and which

could, in proper circumstances, warrant departure”); United States v. Parish, 308 F.3d 1025,

1032 (9th Cir. 2002) (concluding it is “permissible for the district court to consider the nature of

the offense in combination with other factors increasing the susceptibility to abuse”); United

States v. Lara, 905 F.2d 599, 603 (2nd Cir. 1990) (considering defendant’s sexual orientation in

conjunction with other characteristics as it related to vulnerability). “The trial judge cannot close

his or her eyes to the conditions a particular defendant being sentenced will necessarily

experience in prison. When a long term is fixed by statute, the prison environment must be

considered by the sentencing judge in estimating total harm and benefits to prisoner and

society—a utilitarian as well as a compassionate exercise.” United States v. D.W., 198 F. Supp.

3d 18 (E.D.N.Y. 2016).

       It is no secret that rape and sexual assault continue to be a serious problem in federal

prisons. The BOP has recognized that several factors render an inmate especially susceptible to

abuse while incarcerated, including being gay (or perceived as gay) and being a sex offender

against minors. See D.W., 198 F. Supp. at 66. Individuals with any one of these characteristics

is considered at high risk for sexual assault, see id., and Mr. Nader has at least two. Sadly, it is

not unusual for child pornography offenders to be brutally beaten—or even killed—in prison.

See id. at 73 (citing several murders of elderly convicted child molesters).

       Mr. Nader’s vulnerability is further compounded by the extraordinary amount of negative

publicity that his case has attracted, not only for the nature of his convictions, but because of his

cooperation with the SCO investigation—which was deeply unpopular among a large segment of



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the American population and dramatically raised the profile of this case. See Koon v. United

States, 518 U.S. 81, 112 (1996) (upholding downward departure based on likelihood of abuse by

other inmates due to “widespread publicity and emotional outrage”). His arrest in June 2019 on

“child pornography” charges was reported all over this country and the world, almost always in

conjunction with references to his status as a witness in the SCO investigation and/or his

associations with the Trump campaign.

       In January 2020, the negative attention greatly intensified when Mr. Nader pled guilty not

only to possession of child pornography (with which he had been previously charged), but also to

transporting a minor from the Czech Republic to the U.S. for illicit sexual activity (which had

not previously been known publicly). News of his plea appeared in almost every major national

news outlet, including the Washington Post, New York Times, Rolling Stone, CBS News, Stars

and Stripes, Axios, and CNN, and attracted international attention from organizations such as

Independent UK and UPI. Nearly every headline screamed that Mr. Nader was both a former

witness in the SCO investigation and had pled guilty to “child sex crimes.” Most of these

articles reported that Mr. Nader had brought a “child” or “boy” from the Czech Republic to the

U.S. to engage in sexual activity, which had not been previously reported. Some wrongly

labeled him as a “lifelong pedophile.”

       In the wake of this media furor following his plea, Mr. Nader was placed in

administrative segregation for his own protection. There is likely to be an extraordinary amount

of additional publicity surrounding his sentencing. And it is highly likely that the combination of

the nature of his offenses and this nationwide press coverage will necessitate further time in

segregation once he enters BOP. Even though protective custody is not intended to be punitive,

it results in the same deprivations that are imposed on inmates separated from the general



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population for disciplinary reasons. See D.W., 198 F. Supp. at 74. All of this means that

Mr. Nader’s term of incarceration is likely to be much more difficult than it is for inmates who

are not so high-profile and vulnerable, and the Court should properly factor that into account

when determining the appropriate sentence. See Lara, 905 F.2d at 603 (“The severity of [the

defendant’s] prison term is exacerbated by his placement in solitary confinement as the only

means of segregating him from other inmates.”).

         Fifth, COVID-19 makes incarceration more dangerous and agonizing for Mr. Nader. As

discussed above, Mr. Nader is at a high risk for serious illness if he contracts COVID-19.

Further, the Bureau of Prisons (“BOP”) has suspended visitation and put extreme restrictions on

inmate movement.43 And despite these efforts to contain the virus, 35% of those incarcerated in

the BOP who have been tested for COVID-19 have tested positive. 44 Cases inside prisons

continue to “soar” even as the infection rate in the U.S. remains relatively flat. 45 It is further

counsel’s understanding that BOP’s practice with people like Mr. Nader, who are being

transported from county jails, is to send them to transfer facilities, where they must quarantine in

isolation for weeks before ultimately being transported to a more permanent facility. It is unclear

how long those and other isolating measures will continue. What is clear is that the time that Mr.

Nader serves will be harsher because of COVID-19. That is because of the fear that he will

contract a deadly virus, because of the serious illness that he will suffer if he contracts that virus,



43
  https://www.bop.gov/resources/news/20200313_covid-
19.jsp#:~:text=SOCIAL%20VISITS%3A%20Social%20visits%20will,300)%20telephone%20m
inutes%20per%20month.; see also https://www.npr.org/2020/06/15/877457603/as-covid-
spreads-in-u-s-prisons-lockdowns-spark-fear-of-more-solitary-confinement (describing
conditions akin to solitary confinement in federal prisons).
44
  https://abcnews.go.com/Politics/tested-federal-inmates-positive-
coronavirus/story?id=71275461
45
     https://www.nytimes.com/2020/06/16/us/coronavirus-inmates-prisons-jails.html
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and because, under BOP’s policies, his confinement will likely continue to be marked by

isolation from the outside world, much like the time he has spent awaiting sentencing. See

United States v. Beck, 425 F. Supp. 3d 573, 586 (M.D.N.C. 2019) (considering under the §

3553(a) factors that defendant’s suffering as result of her medical condition meant that her

sentence would be “significantly more laborious” than that of most other inmates).

       E.      Need to Avoid Unwarranted Sentencing Disparities Counsels in Favor of the
               Recommended Ten-Year Sentence

       This Court and other courts have often implicitly acknowledged that the Guidelines

overstate the appropriate sentence for sex crimes, see, e.g., United States v. Rocco, No. 1:17-cr-

20-AJT (E.D. Va. 2017), including in cases such as Mr. Nader’s that involve the possession of

child pornography and/or transportation of a minor with the intent to have (or actually having)

sexual contact with a minor. The cases below are all cases from this District involving conduct

worse than Mr. Nader’s in which the courts imposed below-Guidelines sentences:

                    3. Cases involving possession or receipt of child pornography

               a.      In United States v. Bosyk, No. 17-CR-302-LMB (E.D. Va. 2018), the

defendant was a member of an internet-based bulletin board catering to individuals who want to

share and receive child pornography. See ECF No. 41, Statement of Facts. He downloaded

thousands of files to multiple devices and kept bookmarks for several websites dedicated to the

distribution of child pornography. ECF No. 49, Gov’t Sentencing Memo. The offense conduct

spanned more than three years. ECF No. 41. The defendant was in criminal history category I

and the parties agreed that a Guidelines sentence at the bottom of the Guidelines range of 97-121

months would be appropriate. ECF No. 49. This Court nonetheless sentenced the defendant to

the mandatory minimum of 60 months.




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               b.     In United States v. Webb, No. 16-CR-298-LMB (E.D. Va. 2017), the

defendant possessed approximately 5,500 images files and 362 video files of child pornography,

including videos of more than 12 and 17 minutes depicting adults having sex with prepubescent

minors. See ECF No. 8, Statement of Facts. The defendant was in criminal history category I

and the guidelines ranges was 97-121 months. ECF No. 16, Gov’t Sentencing Memo. The

Government requested a sentence at the low end of the guidelines. Id. This Court imposed the

mandatory minimum sentence of 60 months.

               c.     In United States v. Chatelain, No. 19-CR-133-LMB (E.D. Va. 2019), the

defendant possessed hundreds of images and videos of child pornography, and carried them from

country to country while working for the U.S. State Department. ECF No. 46, Gov’t Sentencing

Memo. He was in criminal history category I, and the guidelines range was 121-151 months.

This Court imposed the mandatory minimum of 60 months.

               d.     In United States v. Imparato, 19-CR-173-LMB (E.D. Va. 2019), the

defendant was charged with both distribution of child pornography and travel with intent to

engage in illicit sexual conduct under 18 U.S.C. § 2423(b). In addition to possessing hundreds of

image and video files of child pornography on his computer, the defendant used Kik messenger

to solicit and receive child pornography from others, and engage in sexually explicit chats with

minors, over a period of several months. ECF No. 47, Statement of Facts. The defendant also

had oral and anal sex with a 12-year old boy that he met using Kik. Id. Even while on pretrial

supervision, the defendant continued to send explicit texts, images, and videos to minors. ECF

No. 57, Gov’t Sentencing Memo.




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               The Guidelines sentence was 600 months. The Government recommended a

below-guidelines sentence between 84 and 120 months. ECF No. 62, Gov’t Supp. Sentencing

Memo. This Court sentenced the defendant to 60 months.

                    4. Cases involving transportation of a minor for illicit sexual activity or sex
                       trafficking of children.

               a.      In United States v. Dumas, No. 13-cr-286-GBL (E.D. Va. 2013), the

defendant was convicted after trial of one count of sex trafficking of a child. The evidence at

trial established that, for at least six months, the defendant was a member of an interstate

prostitution ring that exploited teen girls. ECF No. 115, Gov’t Sentencing Memo. The

defendant was in criminal history category I. The probation office calculated the applicable

guidelines as 360 months to life. Id. After the court sustained some of the defendant’s

objections, the guidelines range was revised to 262-327 months. ECF No. 122. The court

imposed a sentence of 120 months.

               b.      In United State v. Kweme, No. 11-cr-345-AJT (E.D. Va. 2011), the

defendant pleaded guilty to one count of sex trafficking of a child. The defendant advertised a

minor female on the internet as a prostitute, drove her to various locations to engage in

commercial sex acts, and took a percentage of the money she collected. ECF No. 17, Statement

of Facts. He had also personally engaged in a sexual relationship with the minor. Id. The court

imposed a sentence of 132 months, substantially below the guidelines range of 235-293 months.

               c.      In United States v. Murillo, No. 17-cr-174- CMH (E.D. Va. 2017), the

defendant pleaded guilty to one count of interstate travel for the purpose of engaging in illicit

sexual activity pursuant to 18 U.S.C. 2423(b), though the facts also would have supported a

charge under § 2423(a). The defendant traveled from Virginia to Texas, where he had sexual

intercourse with a 13-year old girl. ECF No. 23, Statement of Facts. He then traveled with the


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same girl to Honduras where he had sex with her multiple times while she was 13 and 14. Id.

The defendant kept the girl away from her family for more than three months. The defendant

was in criminal history category I, and the advisory guidelines range was 57-71 months. The

court imposed a below-guidelines sentence of 42 months.

               d.      In United States v. Jackson, No. 09-cr-441-GBL (E.D. Va. 2010), the

defendant was an ROTC instructor at the minor victim’s high school. ECF No. 18, Statement of

Facts. The defendant drove the minor from Maryland to Virginia to have sex with her on three

occasions when she was 16 years old. Id. The defendant acknowledged that the victim viewed

him as a “father figure.” Id. The applicable guidelines range was 70-87 months and the

Government asked the court to impose a sentence within the guidelines. ECF No. 19, Gov’t

Sentencing Memo. The court sentenced the defendant to 12 months and a day.

                                                ***

       As demonstrated above, the ten-year mandatory minimum for the offenses to which

Mr. Nader has pled is consistent with the sentences imposed in these and other cases, which

involved conduct similar to, and frequently worse than, Mr. Nader’s. Only one of these cases,

Kweme, resulted in a sentence of more than 120 months, and the conduct in that case (advertising

a teen girl online as a prostitute and transporting her for commercial sex acts, from which the

defendant profited financially) was much more egregious than Mr. Nader’s. Indeed, in similar

cases, defendants in this District have typically received sentences far less than ten years.

       The Court should impose the parties’ recommended ten-year sentence. To impose a

higher sentence would punish Mr. Nader more severely than similarly-situated defendants and

result in unwarranted sentencing disparities.




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                     REQUESTED JUDICIAL RECOMMENDATIONS

       Mr. Nader respectfully requests that the Court recommend that he serve his time at FCI

Petersburg Low. This placement will keep Mr. Nader close to his home in the United States

(Washington, D.C.), and the facility also has a treatment program.

                                        CONCLUSION

       For all of the foregoing reasons, Mr. Nader respectfully requests that the Court impose a

sentence of no more than the parties’ agreed-upon sentence: ten years’ incarceration and five

years of supervised release.



Dated: June 22, 2020                                Respectfully submitted,


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